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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
 JERI B. SCHWEBS, an individual; on behalf of                  CASE NUMBER
 himself and all others similarly situated,
                                                                             8:10-CV-01927-JST (RNBx)

                                                Plaintiff(s)
                            v.

 WYSE FINANCIAL SERVICES, INC., a Colorado
                                                                 ORDER RE: SETTLEMENT PROCEDURE
 Corporation; and DOES 1 through 10 inclusive,
                                                                  SELECTION: REQUEST AND NOTICE
                                              Defendant(s).


    The Court, having considered the parties Settlement Procedure Selection Request and Notice, hereby:

    ORDERS the Request for:

    G SETTLEMENT PROCEDURE NO. 1
    G SETTLEMENT PROCEDURE NO. 2.
    G SETTLEMENT PROCEDURE NO. 3

    be:
    G APPROVED.

    X DENIED; IT IS FURTHER ORDERED that the settlement procedure shall be as follows:

              The parties’ selection of the settlement procedure was not in compliance with paragraph
1.k. of the Order Setting Scheduling Conference in this case (Doc. 8). It is ordered that the parties shall
use Settlement Procedure No. 2, and shall select an attorney from the Attorney Settlement Officer Panel.


    For Settlement Procedure No. 2, counsel are responsible for contacting the settlement officer at the appropriate
    time to arrange for further proceedings. Upon obtaining the settlement officer’s consent to serve, counsel shall
    file Form ADR-02 (Stipulation Regarding Selection of Attorney Settlement Officer) with the court. For
    Settlement Procedure Nos. 1 and 3, counsel are responsible for contacting the judge or mediator at the appropriate
    time to arrange for further proceedings.



                 May 24, 2011
Dated:
                                                                  United States District Judge


ADR–01 ORDER (04/08)      ORDER RE: SETTLEMENT PROCEDURE SELECTION: REQUEST AND NOTICE
